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                   UNITED STATES DISTRICT COURT
                      DISTRICT OF MINNESOTA


David A. McDougall, Individually and         Case No. 20-cv-1499 (JRT/LIB)
as Trustee for the Next-of-Kin of
Decedent Cynthia A. McDougall,
                                            PLAINTIFF’S MEMORANDUM
                 Plaintiff,                  OF LAW IN OPPOSITION TO
                                            CRC’S MOTION TO COMPEL
      v.                                   PRODUCTION OF MCDOUGALL-
                                             NEUMILLER SETTLEMENT
CRC Industries, Inc., and John Doe
                                                   AGREEMENT
Company Defendants #1–10,

                 Defendants.



                              INTRODUCTION

      CRC’s motion to compel production of the “McDougall-Neumiller

Settlement Agreement” should be denied. It is based on a factually incorrect

predicate, irrelevant to the Court’s entry of judgment, and untimely.

                                ARGUMENT

      CRC’s motion is based on a factually incorrect predicate that Plaintiff

David A. McDougall executed a “Release” with Kyle Neumiller. There is no

Release between McDougall and Neumiller. There is a Stipulation wherein

Neumiller accepted McDougall’s Offer of Judgment. (Bruce Decl., Ex. A,

Stipulation). The Stipulation was filed in Minnesota state Court over two years

ago and CRC has been able to publicly view the document at any time. (Id.)

Pursuant to the Stipulation, Neumiller’s automotive insurer paid policy limits




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of $30,000, and a personal judgment was entered against Neumiller

individually. Neither the Stipulation nor the judgment contain a Release. (Id.)

      Second, CRC claims this “Release” (which does not exist) is necessary to

determine what monetary amount the Court should order entry of judgment.

(CRC’s Br. at 1, ECF No. 257.) However, the McDougall and Neumiller

Stipulation does not affect CRC’s obligation for the entire verdict. The issue of

whether Neumiller was an intentional tortfeasor was a “question of fact for the

jury.” (Order at 3, ECF No. 229.) The jury answered yes to that question.

(Verdict at 3, ¶3B, ECF No. 272.) Once, the jury found that Neumiller was an

intentional tortfeasor, the “Court w[ould] not permit CRC to limit its exposure

to liability to the extent of its fault. (Order at 3, ECF No. 229.) In other words,

Neumiller’s intentional conduct would not be compared against CRC for any

purpose. Accordingly, there is no need for CRC to examine anything because

CRC is not permitted “to limit its exposure.” (Id.) The Court has ruled on this

issue. McDougall’s verdict cannot and should not be reduced.

      Finally, CRC’s request is untimely. As emphatically declared by CRC’s

own counsel in response to a question submitted by the jury during its punitive

damages’ deliberation: “the evidence is closed.” (Trial Tr. 1929:22–23

(emphasis added).) Discovery has finished. Trial is over. The jury reached its

verdict. And now the Court can enter judgment pursuant to the jury’s verdict,

regardless of CRC’s appellate threats. Moreover, McDougall responded to



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CRC’s interrogatories in May 2022—nearly two years ago, disclosing that he

and his minor child:

            [R]eceived settlement monies of $30,000 from Kyle
            Neumiller’s insurer, Progressive Insurance, constituting the
            liability policy limits. Additionally, see Order dated March
            2, 2022 wherein David McDougall as Trustee agreed to
            resolve his complaint against Kyle Neumiller for payment of
            $30,000 cash representing the full liability limits of
            Neumiller’s Progressive automotive insurance policy plus an
            excess personal judgment against Kyle Neumiller
            individually      for   $970,000,    produced     herein  at
            MCDOUGALL003751–3754.

(Bruce Decl., Ex. B, ROG No. 5.) At no point in time—until now—did CRC

claim that response was “incomplete.” CRC failed to act after receiving this

information, and now seeks to reopen the factual record over 16 months after

discovery has closed and after a jury verdict, claiming that McDougall failed to

provide said information. CRC’s motion is improper and should be summarily

denied.1




1 CRC’s reliance on Apple Inc. v. Wi-LAN Inc. does not change the analysis. No.

14CV2235-DMS(BLM), 2019 WL 4253833, at *3 (S.D. Cal. July 22, 2019). In
Apple, the Court allowed the parties to supplement expert reports for an
upcoming retrial on damages, and the party moving to compel sought focused,
supplemental discovery responses. Id. Here, no party is supplementing expert
reports, there is no retrial on damages, and moreover, there is no discovery
response to supplement. McDougall answered CRC’s interrogatory and
produced related documents; he fulfilled his disclosure duty.



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                             CONCLUSION

     For the reasons stated herein, Plaintiff David A. McDougall respectfully

requests that this Court deny CRC’s motion.



Dated: May 6, 2024                       ROBINS KAPLAN LLP


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